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                IN THE UNITED STATES DISTRICT COURT 

                    FOR THE DISTRICT OF MONTANA 

                         MISSOULA DIVISION 




MARIE ANDERSEN,                                     CV 13-154-M-DLC

                     Plaintiff,
                                                            ORDER
        vs.

CITY OF MISSOULA and JOHN                                        FILED
DOES 1-10,
                                                                   FEB 0 5 2015
                     Defendant.                                 Clerk, u.s. District Court
                                                                  District Of Montana
                                                                        Missoula


      Pursuant to the parties' Stipulation of Dismissal with Prejudice (Doc. 60),

      IT IS ORDERED that this action is DISMISSED WITH PREJUDICE, the

parties to bear their own costs and attorneys' fees. All deadlines are VACATED

and any pending motions are DENIED as moot.

      DATED this 5th day of February 2015.




                                            Dana L. Christensen, Chief istrict Judge
                                            United States District Court
